           Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 1 of 31



                       IN THE UNITED STATES DISTRICT COURT FOR
                        THE EASTERN DISTRICT OF PENNSYLVANIA



  IN RE: ZOSTAVAX (ZOSTER VACCINE                        MDL NO. 2848
  LIVE) PRODUCTS LIABILITY                               Master Docket No.: 18-md-2848
  LITIGATION
                                                         JUDGE HARVEY BARTLE, III
                                                         DIRECT FILED COMPLAINT
  KATHERINE BURLEY,                                      PURSUANT TO PRETRIAL
                                                         ORDER NO. 22

                    Plaintiff,                           Civil Action No.:

  VS


  MERCK & CO., INC. and MERCK SHARPE &
  DOHME CORP.,


                    Defendants



                                            COMPLAINT

       Plaintiff KATHERINE BURLEY ("Plaintiff') files this Complaint pursuant to PTO No.

22, and is to be bound by the rights, protections and privileges and obligations of that PTO.

Plaintiff states that but for the Order permitting direct filing in the Eastern District of Pennsylvania

pursuant to PTO No. 22, Plaintiff would have filed this Complaint in the United States District

Court for the Eastem District of Michigan ("District"). Further, in accordance with PTO No. 22,

Plaintiff, hereby designates the United States District Court for the Eastern District of Michigan

as the place   of remand as this case may have originally been filed there.

       Plaintiff, by and through her attorneys, WATERS           & KRAUS, LLP        and MCNICHOL

BYRNE MATLAWSKI, P.C., complains and alleges against Defendants MERCK & CO., INC.

and MERCK SHARP             & DOHME, CORP. (collectively,        "Defendants" and/or "Merck"), on
             Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 2 of 31



information and belief, as follows:

                                             PARTIES


        l.       Plaintiff KATHERINE BURLEY ("Plaintiff') at all times relevant to this action

was and is a resident and citizen of the State of Michigan.

       2.        Defendant MERCK      & CO., INC. is incorporated in New     Jersey   with its principal

place of business located at 2000 Galloping      Hill Road, Kenilworth, New Jersey. At all times

relevant   to this action,   Defendant MERCK      &    CO., INC. developed, tested, designed,           set

specifications   for, licensed, manufactured, prepared,       compounded, assembled, packaged,

processed, labeled, marketed, promoted, distributed, andlor sold the Zostavax vaccine              to   be

administered to patients throughout the United States, including the District. Merck has conducted

business and derived substantial revenue within the District, including, but not limited to, its

business activities related to the Zostavax vaccine.

        3.       Defendant MERCK SHARP & DOHME CORP. is a wholly-owned subsidiary of

Defendant MERCK       &   CO., INC. and part of the MERCK        &   CO., INC. family of companies.

Defendant MERCK SHARP            &    DOHME CORP. is incorporated           in New Jersey with          its

headquarters located at 2000 Galloping    Hill Road, Kenilworth, New Jersey. At all times relevant

to this action, Defendant MERCK SHARP & DOHME CORP., developed, tested, designed, set

specifications   for, licensed, manufactured, prepared,       compounded, assembled, packaged,

processed, labeled, marketed, promoted, distributed, andlor sold the Zostavax vaccine to be

administered to patients throughout the United States, including the District. Defendant MERCK

SHARP      & DOHME     CORP. has conducted business and derived substantial revenue within the

District, including, but not limited to, its business activities related to the Zostavaxvaccine.




                                                   2
           Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 3 of 31



        4.      Furthermore, based upon information and belief, Merck is, and was at all times

relevant hereto,

                   a.   duly authorizedto conduct business in the District;

                   b.   regularly conducted and solicited business within the District and continues

                        to do so;

                   c.   does business   in the District, and at all times relevant hereto, has sold and

                        distributed the Zostavax vaccine in the District;

                   d.   derives substantial revenue from goods used or consumed in the District;

                   e.   advertised its Zostavax vaccine to patients, doctors and hospitals in the

                        District and/or other medical facilities located in the District;

                   f.   advertises or otherwise promotes its business in the District; and

                   g.   reasonably expects to be subject to the District's product liability law




                                    JURISDICTION AND VENUE

        5.      This Court has jurisdiction over this action pursuant to 28 U.S.C. $ 1332, because

the amount in controversy as to the Plaintiff exceeds $75,000.00, exclusive of interest and costs,

and because complete diversity of citizenship exists between the Plaintiff and the Defendants.

        6.      Furthermore, this Court has jurisdiction and venue is appropriate over this action

pursuant to Pretrial Order No. 22 (Direct Filing     - Stipulated)   which authorizes direct filing of cases

into MDL No. 2848 in order to eliminate delays associated with transfer of cases and to promote

judicial efficiency.




                                                      3
            Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 4 of 31



                                  NO FEDERAL PREEMPTION

       7.        The National Childhood Vaccine Injury Act    of 1986 ("Vaccine Act"), 42 U.S.C.   $$

300aa-1 et seq. does not preempt Plaintiff from filing this Complaint. Pursuant to $11(c)(l)(A)    of

the Vaccine Act, the Vaccine Court has jurisdiction to only hear cases listed on the Vaccine Injury

Table. The Zostavax vaccine is not a vaccine listed in the Vaccine Injury Table.



                                                FACTS

       8.        At all times hereinafter mentioned, Merck       designed, manufactured, licensed,

labeled, tested, distributed, marketed and sold Ihe Zostavax vaccine.

       9.        Zostavax was designed, developed, marketed, and sold with the intended purpose

of preventing shingles, which is caused by the varicella zoster virus ("VZV").

       10.       Varicella zoster is a virus that causes chickenpox.

        I   1.   Once the VZV causes chickenpox, the virus remains inactive (dormant) in the

nervous system for many years.

        12.      YZY   can be reactivated due   to factors such as disease, stress, aging, and immune

modulation caused by vaccination.

        13.      When reactivated,VZV replicates in nerve cells and is carried down the nerve

fibers to the area of skin served by the ganglion that harbored the dormant virus.

       14.       [n May of 2006, the U.S. Food and Drug Administration ("FDA") approved the

Zostavax vaccine to be marketed and sold in the United States by Merck.

       15.       Zostavax was initially indicated for the "the prevention of herpes zoster (shingles)

in individuals 60 years of age and older when administered as a single-dose." FDA Approval

Letter, May 25,2006.



                                                    4
         Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 5 of 31



       16.    FDA approval was based in large part on the results of the Shingles Prevention

Study (SPS) supported by Merck.

       17.    The results of the SPS were published in the New England Journal of Medicine on

June 2, 2005. The paper was titled      "A   Vaccine to Prevent Herpes Zoster and Postherpetic

Neuralgia in Older Adults". N. Engl. J. Med. 2005;352(22):2271-84.

               a.   Shingles results from reactivation     of latent varicella zoster virus (VZV),

                    which is the virus that causes chickenpox. The incidence and severity           of

                    shingles increases as people age.

               b.   As further described in this paper, "[t]he pain and discomfort associated with

                    herpes zoster can be prolonged and disabling, diminishing the patient's

                    quality of life and ability to function to a degree comparable to that in diseases

                    such as congestive heart failure, myocardial infarction, diabetes mellitus type

                    2, andmajor depression." N. Engl. J. Med. 2005;352(22) at2272.

               c.   The Zostavax vaccine is essentially the same vaccine as that used for

                    chickenpox, except signifi cantly stronger.

               d.   Zostavax contains live     VZV. The virulence of the virus is reduced or

                    "attenuated". Attenuated vaccines are designed to activate the immune

                    system with the decreased risk of actually developing the disease.

               e.   Zostavax is developed from a live attenuated version of the Oka/Merck VZV

                    vaccine strain.

               f.   One of the paper's more significant findings was "[t]he greater number          of

                    early cases of herpes zoster in the placebo group, as compared with the

                    vaccine group, and the fact that no vaccine virus DNA was detected, indicate



                                                  5
          Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 6 of 31



                      that the vaccine did not cause or induce herpes zoster."

        18.    A risk of using a live virus vaccine is that it is not weakened enough or "under-

attenuated".

        19.    Under-attenuated live virus creates an increased risk of developing the disease the

vaccine was to prevent.

       20.     Under-attenuated live VZV has been shown to reactivate. Leggiadro, R. J. (2000).

Varicella Vaccination: Evidence for Frequent Reactivation of the Vaccine Strain             in   Healthy

Children. The Pediatric infectious disease journal, l9(1 1),   IllT-l I 18; Krause, P. R., & Klinman,
D. M. (2000). Nature Medicine, 6(4),451454.

       2L      Once injected, attenuated live virus has been shown to recombine into more virulent

strains causing disease.

       22.     Shingles is a reactivation of the latent VZV.

        23.    The approval granted by the FDA to allow the selling and marketing of this vaccine

came with certain post-marketing commitments that Merck agreed to complete to, inter alia,

ensure the safety of this vaccine. These commitments included the following:

                 a.   A randomized, placebo-controlled safety study to assess the rates of serious

                      adverse events   in 6,000 people receiving the vaccine as compared to 6,000

                      who receive a placebo.

                 b.   An observational study using     a health maintenance organization   (HMO) and

                      20,000 vaccinated people to address safety issues in the course of clinical

                      practice. This study is specifically to detect "potential safety signals

                      following administration of Zostavax." This study was to be submitted to the

                      FDA by December 2008.



                                                   6
            Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 7 of 31



        24.     Since the publication of the SPS in the New England Journal of Medicine, there

have been questions raised regarding the safety         of Zostavax vaccine in scientific and medical
journals.

        25.     Zostavax    is a stronger, more potent version of Merck's chickenpox vaccine,

Varivax.

        26.     Varivax contains a minimum of 1,350 PFU (plaque-forming units) of the virus

while Zostavax contains a minimum of 19,400 PFU.

        27.     In the clinical studies evaluating Zostavax, more than        90o/o   of the vaccinated

subjects received 32,300 PFU.

        28.     Merck added several adverse reactions to its package insert/prescribing information

since Varivax was approved.

                  a.   The biological system in which the most adverse reactions were added was

                       the nervous system.

                  b.   Added reactions include: encephalitis, cerebrovascular accident, transverse

                       myelitis, Guillain-Barr6 syndrome, Bell's palsy, ataxia, non-febrile seizures,

                       aseptic meningitis, dizziness, and paresthesia.

                  c. Acute Disseminated      Encephalomyelitis is a type of encephalitis.

        29. As of February           2014, the patient information sheet, label, and prescribing

information distributed with the Zostavax vaccine contain no clear reference to the potential risk

of viral infection.

        30.     Individuals with compromised immune systems should not receive a live virus

vaccine because those individuals can develop the disease that the vaccine is designed to prevent.




                                                    7
           Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 8 of 31



        31.     The patient information sheet, as well as the label and prescribing information for

Zostavax at all times relevant hereto, did not adequately, if at all, address the risk of viral infection.

All that was addressed is the concern      that a rash and itching might develop at the injection site.

This is despite the fact that shingles was a noted occurrence during clinical trials of the vaccine.

        32.     The prescribing information for Zostavax contains a waming that "ft]ransmission

of vaccine virus may occur between vaccinees and susceptible contacts".

                 a.   The risk of transmission of vaccine virus is due to active viral infection in

                      individuals receiving the Zostavax vaccine.

        33.     The patient information sheet, as well as the label and prescribing information for

Zostavax at all times relevant hereto, did not adequately, if at all, address the risk of viral infection

or possible diseases of the nervous system. This is despite the fact that Varivax, a less potent

vaccine, has added several neurological diseases and symptoms as adverse reactions to the Varivax

vaccine.

        34.     Since Zostavax's introduction in 2006, vaccine adverse event reports (VAERs)

appeared   in significant numbers addressing various adverse effects, including, but not limited to,

viral infection resulting in   disease   of the central nervous system, including acute disseminated

encephalomyelitis and acute transverse myelitis.

        35.     Other than postherpetic neuralgia, shingles can lead to other serious complications,

such as scarring, bacterial superinfection, allodynia, cranial and motor neuron palsies, pneumonia,

encephalitis, visual impairment, hearing loss, and death.

        36.     It follows that given the increased risk of viral infection due to vaccination,      such

complications are also possible complications of Zostavax. It also follows that post-vaccination




                                                    8
           Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 9 of 31



viral infection can cause significant issues in the neryous system due to the replication of the latent

virus in the nervous system.

          37.   Despite this information and the potential correlation between being administered

the Zostavax vaccine and within a relatively short period of time developing an infection, leading

to the development of shingles or varicella-zoster virus pneumonia, Merck failed to properly

address and provide this information both to the patient and the medical providers prescribing the

vacclne

          38.   In October 2017, the FDA approved Shingrix - an alternative shingles vaccine

manufactured by GlaxoSmithKline. Shingrix was created by extracting a glycoprotein located on

the surface of the varicella zoster virus. This glycoprotein triggers the body's immune system to

activate and fight against the varicella zoster virus. The glycoprotein itself, however, cannot infect

the body as it is not a   virus. GlaxoSmithKline added the extracted glycoprotein with an adjuvant,

a substance that enhances the body's immune response to an antigen, to create Shingrix. When

Shingrix enters the body, the vaccine induces an immune response that cannot directly infect the

vaccinated human host nor activate dormant        VZV virus. In direct contrast, Zostavax contain

various mutated live strains of actual VZV virus which can directly infect the vaccinated human

host and/or activate dormant VZV virus.

          39.   Shingrix was proven to be safe and effective to prevent shingles in over         90%o   of

users in contrast   to Zostavax's effectiveness rates that were   as   low as 18% in certain age groups.

Shingrix was proven to stay effective in preventing shingles at least four years in contrast to

Zostavax's effectiveness that waned over a five year period.

          40.   The safety, effectiveness, and the simple superiority of the design of Shingrix over

Zostavax allowed the Center for Disease Control ("CDC") to make an unprecedented decision to



                                                   9
         Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 10 of 31



recommend Shingrix over Zostavax to the general public after only a few days of Shingrix being

approved by the FDA.

        41.    Upon information and belief, Merck possessed, or should have possessed, the

knowledge to create a Shingles vaccine similarly designed as Shingrix.


                                     CASE.SPECIFIC FACTS


       42.     Plaintiff at all times relevant to this action was and is a citizen of the state of

Michigan, residing in Spring Arbor, Michigan.

       43. In or around December 16, 2015, Plaintiff was inoculated with Defendants'
Zostavax vaccine for routine health maintenance and for its intended purpose: the prevention      of

shingles (herpes zoster).

        44.    Shortly after receiving Defendants' Zostavax vaccine, Plaintiff suffered an

outbreak of the Shingles.

       45.     As a direct and proximate result of Merck's defective Zostavax vaccine, Plaintiffls

symptoms have resulted       in physical limitations not present prior to using Merck's     product.

Plaintiff also experiences mental and emotional distress due to resulting physical limitations and

seriousness of her condition.

        46.    As a result of the manufacture, marketing, advertising, promotion, distribution

and/or sale of Zostavax,    Plaintiff sustained severe and permanent personal injuries. Further, as a

tragic consequence    of Merck's wrongful conduct, Plaintiff         suffered serious, progressive,

permanent, and incurable injuries, as well as significant conscious pain and suffering, mental

anguish, emotional distress, loss of enjoyment of life, physical impairment and injury.




                                                   10
         Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 11 of 31



        47.     As a direct and proximate result of Defendants' conduct, Plaintiff has suffered and

incurred damages, including medical expenses; the loss of accumulations; and other economic and

non-economic damages


                                              COUNT I:
                                           NEGLIGENCE

        48.     Plaintiff repeats, reiterates, incorporates, and realleges each and every allegation

contained in this Complaint with the same force and effect as if fully set forth herein.

        49.     Merck had a duty to exercise reasonable care in the design, research, manufacture,

marketing, testing, advertisement, supply, promotion, packaging, sale, and distribution of

Zostavaxincluding the duty to take all reasonable steps necessary to manufacture and sell aproduct

that was not defective and unreasonably dangerous to consumers and users of the product.

        50.     Merck failed to exercise reasonable care in the design, formulation, manufacture,

sale, testing, quality assurance, quality control, labeling, marketing, promotions, and distribution

of Zostavax   because Merck knew, or should have known, that its product caused       viral infection,

and was therefore not safe for administration to consumers.

        51.     Merck failed to exercise due care in the labeling of Zostavax and failed to issue to

consumers and/or their healthcare providers adequate warnings as to the risk of serious bodily

injury, including viral infection, resulting from its use.

        52.     Merck continued to manufacture and market its product despite the knowledge,

whether direct or ascertained with reasonable care, that Zostavax posed a serious risk of bodily

harm to consumers. This is especially true given its tenuous efficacy.

        53.     Merck knew, or should have known, that consumers, such as Plaintiff, would

foreseeably suffer injury as a result of Merck's failure to exercise ordinary care.



                                                   1l
          Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 12 of 31



         54.     As a direct and proximate consequence of Merck's negligence, Plaintiff sustained

serious personal injuries and related losses including, but not limited to, the following:

          a.      Plaintiff required and will continue to require healthcare and services;

          b.      Plaintiff incurred and will continue to incur medical and related expenses; and

          c.      Plaintiff suffered and will continue to suffer mental anguish, physical pain and

          suffering, diminished capacity for the enjoyment of life, a diminished quality of life, and

          other losses and damages.

        WHEREFORE, Plaintiff demands judgment against Defendants, and                               requests

compensatory damages for past, present, and future pain and suffering, medical costs and

expenses, lost wages; prejudgment and post-judgment interest as allowed by law, costs of suit and

attorneys' fees, as allowed by law, punitive damages, and any and all such other relief         as the   Court

deems   just and proper; and further, demands a tial by jury of all issues so triable.


                                             COUNT      II:
               STRICT LIABILITY. DESIGN AND MANUFACTURING DEFECT

        55.      Plaintiff repeats, reiterates, incorporates, and realleges each and every allegation

contained in this Complaint with the same force and effect as    if fully   set forth herein.

        56.      Merck designed, researched, developed, manufactured, tested, labeled, advertised,

promoted, marketed, sold, supplied, and/or distributed the Zostavax vaccine.

         57.     The Zostavax vaccine was expected to, and did, reach the intended consumers,

handlers, and persons coming      in contact with the product with no substantial          change        in   the

condition in which the product was designed, produced, manufactured, sold, distributed, labeled,

and marketed by Merck.




                                                   12
         Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 13 of 31



        58.    The Zostavax vaccine was manufactured, designed, marketed, labeled and sold in

a defective condition, for use by Plaintiff s physicians and/or healthcare providers, and all other

consumers of the product, making the product unreasonably dangerous.

        59.    The Zostavax vaccine, as designed, researched, manufactured, tested, advertised,

promoted, marketed, sold, and distributed by Merck was defective in design and formulation in

that when it left the hands of the manufacturers, suppliers, and distributors, the foreseeable risks

of harm caused by the product exceeded the claimed benefits of the product.

       60.     Merck's Zostavax vaccine, as designed, researched, manufactured,                tested,

advertised, promoted, marketed, sold, and distributed by Merck was defective           in design   and

formulation because when it left the hands of Merck, the product was umeasonably dangerous and

was also more dangerous than expected by the ordinary consumer.

       61.     At all times relevant to this action, Merck knew and had      reason to know that its

Zostavax vaccine was inherently defective and unreasonably dangerous as designed, formulated,

and manufactured by Merck, and when used and administered in the form manufactured and

distributed by Merck, and in the manner instructed by Merck to be used and administered to

Plaintiff and other consumers.

       62.     Plaintiffs physicians and./or healthcare providers used and administered the

Zostavax vaccine for the purpose intended by Merck, and in a manner normally intended to be

used and administered, namely for vaccination against shingles (herpes zoster). Merck had a duty

to design, create, and manufacture products that were reasonably safe and not unreasonably

dangerous for their normal, common, and intended use. Merck's product was not reasonably fit,

suitable, or safe for its anticipated use, and safer, reasonable alternative designs existed and could




                                                  13
          Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 14 of 31



have been utilized. Reasonably prudent manufacturers would not have placed the product in the

stream of commerce with knowledge of these design flaws.

        63. Merck designed, developed,               researched, manufactured, tested, advertised,

promoted, marketed, sold, and distributed a defective product that created an uffeasonable risk     of

serious harm to the health, safety, and well-being of Plaintiff and other consumers. Merck is

therefore strictly liable for Plaintiffs injuries and damages sustained proximately caused by

Plaintiff s use of the product.

        64.     Plaintiff could not, by the exercise of reasonable care, discover the defective

condition of Merck's product andlor perceive its defective dangers prior to its administration by

her physicians and/or healthcare providers.

        65.     Furthermore, Merck defectively manufactured the subject Zostavax vaccine such

that it unreasonably increased the risk of contracting an infection from the vaccine.

        66.     Merck's defective Zostavax vaccine was a substantial, proximate, and contributing

factor in causing Plaintiff s injuries.

        67.     As   a   proximate result of Merck's acts and omissions and Plaintiff s use of Merck's

defective product, Plaintiff suffered serious physical injuries and incurred substantial medical costs

and expenses to treat and care for her injuries described in this Complaint, including, but not

limited to, the following:

         a.      Plaintiff required and will continue to require healthcare and services;

         b.      Plaintiff incurred and will continue to incur medical and related expenses; and

         c.      Plaintiff suffered and will continue to suffer mental anguish, physical pain and

         suffering, diminished capacity for the enjoyment of life, a diminished quality of life, and

         other losses and damages.



                                                    l4
          Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 15 of 31



        WHEREFORE, Plaintiff demands judgment against Defendants, and                         requests

compensatory damages for past, present, and future pain and suffering, medical costs and

expenses, lost wages; prejudgment and post-judgment interest as allowed by law, costs of suit and

attorneys' fees, as allowed by law, punitive damages, and any and all such other relief as the Court

deems   just and proper; and further, demands   a   trial by ju.y of all issues so triable.


                                           COUNT          III:
                      PRODUCTS LIABILITY - FAILURE TO WARN


        68.     Plaintiff repeats, reiterates, incorporates, and realleges each and every allegation

contained in this Complaint with the same force and effect as if fully set forth herein.

        69.     Merck designed, researched, developed, manufactured, tested, labeled, advertised,

promoted, marketed, sold, supplied, and/or distributed the Zostavax vaccine.

        70.     The Zostavax vaccine was expected to, and did, reach the intended consumers,

handlers, and persons coming     in contact with the product with no substantial change in         the

condition in which the product was designed, produced, manufactured, sold, distributed, labeled,

and marketed by Merck.

        71.     The Zostavax vaccine was manufactured, designed, marketed, labeled and sold in

a defective condition, for use by Plaintiff s physicians and/or healthcare providers and all other

consumers of the product, making the product unreasonably dangerous.

        72.     Merck researched, developed, designed, tested, manufactured, inspected, labeled,

distributed, marketed, promoted, sold, and otherwise released into the stream of commerce its

Zostavax vaccine and    in the course of   same, directly advertised or marketed the product to

consumers or persons responsible for consumers, and therefore had a duty to warn of the risks

associated with the use of its product.



                                                     l5
          Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 16 of 31



        73.    Merck's Zostavax vaccine, as designed, researched, developed, manufactured,

tested, advertised, promoted, marketed, sold, labeled, and distributed by Merck, was defective due

to the product's inadequate warnings and instructions. Merck knew, or should have known, and

adequately warned that its product created a risk of serious and dangerous side effects, including

but not limited to, viral infection resulting in shingles, postherpetic neuralgia, or other diseases   of

the nervous system.

        74.    The product was under the exclusive control of Merck and was unaccompanied by

appropriate and adequate warnings regarding the risk of severe and permanent injuries associated

with its use, including, but not limited to, the risk of developing a disease in the nervous system

due to viral infection. The warnings given did not accurately reflect the risk, incidence, symptoms,

scope or severity of such injuries to the consumer.

        75.    Notwithstanding Merck's knowledge of the defective condition of its product,

Merck failed to adequately warn the medical community and consumers of the product, including

Plaintiff and her healthcare providers, of the dangers and risk of harm associated with the use and

administration of its Zostavax vaccine.

        76.     Merck downplayed the serious and dangerous side effects of its product to

encourage sales of the product; consequently, Merck placed its profits above its customers' safety.

        77.     The product was defective when it left the possession of Merck in that it contained

insufficient warnings to alert Plaintiff and/or her healthcare providers to the dangerous risks and

reactions associated with it, including possible viral infection of the nervous system or another

disease of the neryous system.




                                                   t6
          Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 17 of 31



         78.      Even though Merck knew or should have known                of the risks and reactions
associated with their product,   it still failed to provide wamings that accurately reflected the signs,

symptoms, incident, scope, or severity of the risks associated with the product.

         79.      Plaintiff used Merck's Zostavax vaccine   as intended or   in a reasonably foreseeable

manner

         80.      Merck, as a manufacturer of pharmaceutical products, is held to the level of

knowledge of an expert in the field and, further, Merck had knowledge of the dangerous risks and

side effects of its product.

         81   .   Plaintiff did not have the same knowledge as Merck and no adequate warning was

communicated to her physician(s) and/or healthcare providers.

         82.      Merck had a continuing duty to warn consumers of its Zostavax vaccine, including

Plaintiff, of the dangers associated with its product, and by negligently and/or wantonly failing to

adequately warn of the dangers of the use of its product, Merck breached its duty.

         83.      Although Merck knew, or should have known, of the defective nature of its

Zostavax vaccine,     it continued to design, manufacture, market, and sell its product without
providing adequate warnings and instructions concerning the use of its product so as to maximize

sales and profits at the expense     of the public health and safety, in knowing, conscious, and

deliberate disregard of the foreseeable harm caused by its Zostavax vaccine.

         84.      As a direct and proximate result of Merck's failure to adequately warn or other acts

and omissions of Merck described herein, Plaintiff suffered severe and permanent injuries, pain,

and mental anguish, including diminished enjoyment of life.




                                                    I7
         Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 18 of 31



       85.     Merck's failure to wam extended beyond the product's label and into other media

available to Merck, including but not limited to advertisements, person-to-person sales calls,

medical joumal articles, and medical conference presentations.

       86.     The Zostavax vaccine, upon information and belief, as manufactured and supplied

by Merck, was further defective due to inadequate post-market warnings or instructions because

after Merck knew, or should have known, of the risk of serious bodily harm from the administration

of its Zostavax vaccine, including, but not limited to, possible viral infection, Merck failed to

provide adequate warnings to consumers and/or their healthcare providers about the product,

knowing the product could cause serious injury.

       87.     The Zostavax vaccine, upon information and belief, as manufactured and supplied

by Merck, was defective due to inadequate post-market wamings or instructions when it left

Merck's control.

       88.     As a proximate result of Merck's acts and omissions and Plaintiff     s use   of Merck's

defective product, Plaintiff suffered serious physical injuries and incurred substantial medical costs

and expenses as set forth in this Complaint, including, but not limited to, the following:

         a.      Plaintiff required and will continue to require healthcare and services;

         b.      Plaintiff incurred and will continue to incur medical and related expenses; and

         c.      Plaintiff suffered and will continue to suffer mental anguish, physical pain and

         suffering, diminished capacity for the enjoyment of life, a diminished quality of life, and

         other losses and damages.

       WHEREFORE, Plaintiff demands judgment against the Defendants, and                       requests

compensatory damages for past, present, and future pain and suffering, medical costs and

expenses, lost wages; prejudgment and post-judgment interest as allowed by law, costs of suit and



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          Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 19 of 31



attorneys' fees, as allowed by law, punitive damages, and any and all such other relief as the Court

deems   just and proper; and further, demands     a   trial by jury of all issues so triable.


                                               COUNT IV:
                               BREACH OF EXPRESS WARRANTY

        89.     Plaintiff repeats, reiterates, incorporates, and realleges each and every allegation

contained in this Complaint with the same force and effect as if fully set forth herein.

        90.     Merck, through its officers, directors, agents, representatives, and written literature

and packaging, and written and media advertisements, expressly warranted that its Zostavax

vaccine was safe and effective and fit for use by consumers, was of merchantable quality, did not

create the risk of or produce dangerous side effects, including, but not limited to,            viral infection,

and was adequately tested and      fit for its intended use.

         a.         Specifically, Merck stated that*ZOSTAVAX is a vaccine that is used for adults

         60 years of age or older to prevent shingles (also known as zoster)."

         b.         Merck also stated that "ZOSTAVAX works by helping your immune system

         protect you from getting shingles."

         c.         Merck, in the SPS paper, stated that "...the vaccine did not cause or induce herpes

         zoster."

        9I.     At the time of making such express warranties, Merck knew                and./or should have

known that its Zostavaxvaccine did not conform to the express warranties and representations and

that, in fact, its product was not safe and had numerous serious side effects, including the

possibility of viral infection, of which Merck had full knowledge and did not accurately or

adequately warn.




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          Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 20 of 31



        92.     The Zostavax vaccine manufactured and sold by Merck did not conform to these

representations because it caused serious injury, including diseases of the nervous system and./or

viral infection, to consumers such as Plaintiff, when used in routinely administered dosages.

        93.     Merck breached its express warranties because its product was and is defective for

its intended purpose.

        94.     Plaintiff, through her physicians and/or other healthcare providers, did rely on

Merck's express warranties regarding the safety and efficacy of their product in purchasing and

injecting the product.

        95.     Members of the medical community, including physicians and other healthcare

professionals, relied upon Merck's representations and express warranties in connection with the

use recommendation, description, and dispensing of      Merck's Zostavax vaccine.

        96. As a foreseeable, direct, and proximate result of the breach of the express
warranties, Plaintiff suffered severe and permanent personal injuries, harm, and economic loss.

        WHEREFORE, Plaintiff demands judgment against Defendants, and                         requests

compensatory damages for past, present, and future pain and suffering, medical costs and

expenses, lost wages; prejudgment and post-judgment interest as allowed by law, costs of suit and

attomeys' fees, as allowed by law, punitive damages, and any and all such other relief     as the   Court

deems   just and proper; and further, demands a tiral by jury of all issues so triable.


                                              COUNT V:
                              BREACH OF IMPLIED WARRANTY

        97.     Plaintiffrepeats, reiterates, incorporates, and realleges each and every allegation

contained in this Complaint with the same force and effect as if fully set forth herein.




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         Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 21 of 31



        98.     At all times relevant to this action, Merck manufactured, compounded, portrayed,

distributed, recommended, merchandised, advertised, promoted, and/or sold its Zostavax vaccine

for use in preventing shingles.

        99.     Merck knew of the intended use of its Zostavax vaccine at the time Merck

marketed, sold, and distributed its product for use by Plaintiffs physicians and healthcare

providers, and impliedly warranted the product to be of merchantable quality and safe and fit for

its intended use.

        100. Merck impliedly represented and warranted to the medical                 community, the

regulatory agencies, and consumers, including Plaintiff, her physicians, and her healthcare

providers, that Zostavax vaccine was safe and of merchantable quality and          fit for the ordinary
purpose for which the product was intended and marketed to be used.

        101. Merck's representations and implied warranties were             false, misleading, and

inaccurate because its product was defective, and not of merchantable quality.

        102. At the time Merck's product was promoted,          marketed, distributed, and/or sold by

Merck, Merck knew of the use for which it was intended and impliedly warranted its product to

be of merchantable quality and safe and   fit for such   use.

        103.    Plaintiff, her physicians and healthcare providers, and members of the medical

community reasonably relied on the superior skill and judgment of Merck, as manufacturer,

developer, distributor, and seller of the Zostavax vaccine as to whether     it   was of merchantable

quality and safe and     fit for its intended use, and also relied on the implied         warranty of

merchantability and fitness for the particular use and purpose for which the product was

manufactured and sold.




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          Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 22 of 31



        104. Contrary     to Merck's implied warranties, its product as used by Plaintiff was not   of

merchantable quality and was not safe       or fit for its intended use because the product      was

unreasonably dangerous as described herein.

        105. Merck breached its implied      warranty because its product was not safely fit for its

intended use and purpose.

        106. Merck placed its product into the stream of commerce         in a defective, unsafe, and

inherently dangerous condition, and the product was expected to and did reach Plaintiff without

substantial change in the condition in which it was manufactured and sold.

         107.   As a foreseeable, direct and proximate result of Merck's acts and omissions and

Plaintiffs use of Merck's defective product, Plaintiff suffered serious physical injuries        and

incurred substantial medical costs and expenses to treat and care for her injuries described herein.

        WHEREFORE, Plaintiff demands judgment against Defendants, and                       requests

compensatory damages for past, present, and future pain and suffering, medical costs and

expenses, lost wages; prejudgment and post-judgment interest as allowed by law, costs of suit and

attorneys' fees, as allowed by law, punitive damages, and any and all such other relief as the Court

deems   just and proper; and further, demands atial by ju.y of all issues so triable.



                                            COUNT VI:
                            NEGLIGENT MISREPRESENTATION

         108.   Plaintiffrepeats, reiterates, incorporates, and realleges each and every allegation

contained in this Complaint with the same force and effect as if fully set forth herein.

         109.   Merck had a duty to accurately and truthfully represent to the medical community,

the FDA, and U.S. consumers, including Plaintiff, the truth regarding Merck's claims that Merck's

product had been tested, and found to be safe and effective for its stated purposes. The

                                                  22
          Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 23 of 31



misrepresentations made by Merck, in fact, were false and Merck was careless or negligent in

ascertaining the truth of the representations at the time Merck made the misrepresentations.

        110. Merck represented       and marketed Zostavax as being safe and effective.

        II   1.   After Merck became aware of the risks of Zostavax, Merck failed to communicate

to Plaintiff, and other members of the general public, that the administration of this vaccine

increased the risk of viral infection.

        ll2.      Merck failed to exercise ordinary care in making representations concerning its

product and its manufacture, sale, testing, quality assurance, quality control, and distribution in

interstate commerce. Merck negligently and/or carelessly misrepresented and intentionally

concealed the truth regarding the high risk of the product's unreasonable, dangerous and adverse

side effects associated with the administration, use, and injection of the product.

        113.      Merck breached its duty in representing to Plaintiff, her physicians and healthcare

providers, and the medical community that Merck's product did not carry the risk of serious side

effects such as those suffered by Plaintiff and other similarly situated patients.

        II4.      Merck failed to wam Plaintiff, and other consumers, of the defective condition     of

Zostavax, as manufactured and/or supplied by Merck.

        115.      Merck negligently misrepresented material facts about Zostavax in that it made

such misrepresentations when they knew or reasonably should have known of the falsity of such

misrepresentations. Alternatively, Merck made such misrepresentations without exercising

reasonable care to ascertain the accuracy ofthese representations.

        116.      The above misrepresentations were made to Plaintiff, as well as the general public.

        lI7.      Plaintiff, and her healthcare providers and physicians, justifiably relied on Merck's

misrepresentations.



                                                   23
            Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 24 of 31



        I   18.   Consequently, Plaintiff   s use   of Zostavax was to her detriment as Merck's negligent

misrepresentations proximately caused.Plaintiff injuries and monetary losses.

        I   19.   As a foreseeable, direct, and proximate result of Merck's negligent and/or willful,

intentional, and knowing misrepresentations as set forth herein, Merck knew, or had reason to

know, that Merck's product had not been sufficiently tested, that the product lacked adequate,

accurate, and prominent warnings, and that injection with the product created a high risk of adverse

health effects, and higher than acceptable risks of harm to users, and higher than reported and

represented risks ofadverse side effects such as those specifically described herein.

        I20.      As a direct and proximate consequence of Merck's negligent misrepresentations,

Plaintiff sustained serious personal injuries and related losses including, but not limited to, the

following:

            a.     Plaintiff required and will continue to require healthcare and services;

            b.     Plaintiff incurred and will continue to incur medical and related expenses; and

            c.     Plaintiff suffered and will continue to suffer mental anguish, physical pain and

            suffering, diminished capacity for the enjoyment of life, a diminished quality of life,

            diminished ability to work, and other losses and damages.

       WHEREFORE, Plaintiff demands judgment against Defendants, and                                     requests

compensatory damages for past, present, and future pain and suffering, medical costs and

expenses, lost wages; prejudgment and post-judgment interest as allowed by law, costs of suit and

attorneys' fees, as allowed by law, punitive damages, and any and all such other relief              as the   Court

deems just and proper; and further, demands a         tial   by   jury of all issues   so triable.




                                                       24
          Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 25 of 31



                                           COUNT VII:
                                    UNJUST ENRICHMENT
         I21.   Plaintiffrepeats, reiterates, incorporates, and realleges each and every allegation

contained in this Complaint with the same force and effect as if fully set forth herein.

         122. Merck is and at all times was the manufacturer, seller, and/or supplier of the
shingles vaccine, Zostavax.

         123.   Plaintiff paid for Merck's product for the purpose of preventing shingles.

         124. Merck has accepted payment by Plaintiff         for the purchase of their product.

         I25.   Plaintiff has not received the safe and effective vaccine for which he paid.

         126. It would be inequitable for Merck to keep this money if Plaintiff did not in fact
receive safe and effective treatment for the prevention of shingles.

        WHEREFORE, Plaintiff demands judgment against Defendants, and                              requests

compensatory damages       for past, present, and future pain and suffering, medical costs             and

expenses, lost wages; prejudgment and post-judgment interest as allowed by law, costs of suit and

attorneys' fees, as allowed by law, punitive damages, and any and all such other relief as the Court

deems   just and proper; and funher, demands atial by jury of all issues so triable.


                                           COUNT      VIII:
                                     PUNITIVE DAMAGES

         127.   Plaintiff repeats, reiterates, incorporates, and realleges each and every allegation

contained in this Complaint with the same force and effect as      if fully   set forth herein.

         128.   Defendant's conduct, as described above, was extreme and outrageous. Defendants

risked the lives of consumers and users of their products, including Plaintiff, with knowledge           of

the safety and efficacy problems and suppressed this knowledge form the general public.



                                                 25
          Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 26 of 31



Defendants made conscious decisions not to redesign, re-label, warn or inform the unsuspecting

consuming public.




                                        PRAYER FOR RELIEF
       WHEREFORE, Plaintiff demands judgment against Defendants, and each of them,

individually, jointly and severally and request compensatory damages, together with interest, cost

of suit, attorneys' fees, and all such other relief as the Court deems just and proper as well as:

               a.   Compensatory damages for past, present, and future damages, including, but

                    not limited to, pain and suffering for severe and permanent personal injuries

                    sustained by Plaintiff, health and medical care costs, lost wages, together   with

                    interest and costs as provided by law;

               b.   Restitution and disgorgement of profits;

               c.   Reasonable attorneys' fees;

               d.   The costs ofthese proceedings;

               e. All ascertainable      economic damages;

               f.   Punitive damages; and

               g.   Such other and further relief as this Court deems just and proper.




                                   DEMAND FOR JURY TRIAL
       Plaintiff hereby requests   a   trial by jury of all issues triable by j.rry


Dated: January 27,2020                                                    submitted,


                                                                      \4^b
                                                           Leslie Maclean, Esq
                                                           PA BarNumber: 310875

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Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 27 of 31



                                  Zainab Tarique
                                  TX Bar Number: 24113095
                                  WATERS & KRAUS, LLP.
                                  3141 Hood Street, Suite 700
                                  Dallas, Texas 75219
                                  Tel: (214)357-6244
                                  Fax: (214) 357-7252
                                  Email : Lmaclean@waterskraus. com
                                  Email : Ztarique@waterskraus. com

                                  Raymond J. Peppelman, Jr.
                                  PA Bar Number: 24073014
                                  MCNICHOL BYRNE MATLAWSKI, P.C.
                                  1223 N. Providence Road
                                  Media, PA 19063
                                  Tel: (610) s6s-4322
                                  Fax: (610) 565-9531
                                  Email: rpeppelman@mbmlawoffice.com

                                  Attorneys for Plaintiff




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                             Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 28 of 31
                                                                UNITED STATES DISTRICT COURT
                                                         \fOR THE EASTER.~ DISTRICT OF PENNSYLVA~lA

                                                                                DESIG:'IATJO;'I FOR\1
                      (to   be us,ed by c'ounsel or prose plaintiff to indicate the category of the case for the purpose of assignment to the
            f                                                   3880 West 111th Avenue, Westminster, Colorado
 Address of Plaintiff.                - - - -      -   - - -     - - -       - - -    - - -      - - - - - - -- - - - - · - - - - - - -                          "       - -    -   -   -     -   -
 Address of Defendant: ________                            ~~Q~ ~~~opin~ ~~I _R?~<!, ~e~l~~rth! ~~~ ~~~e_y ______ _
 Place of Accident, Incident or Transaction· ___________                                                Westminster, Colorado ___________ _



 Case Number                                                          Judge .        Harvey Bartle, 111                            Date Termmated.

 Civil cases are deemed rela

                                              mcluded in an earher numbered suit pendmg or within one                                   YesD
                                                1s court"

 2     Does this case mvolve the same issue of fact or grow out of the same transaction as a prior smt
       pendmg or withm one year previously termmated action m this court"
                                                                                                                                        Yes[{]                 No        •
 3     Does this case mvolve the validity or mfringement of a patent already m smt or any ear her                                      YesO                    No[{]



                                                          (j                                                                                 •
       numbered case pendmg or w1thm one year previously terminated act10n of this court?

4      ls this case a second or successive habeas corpus, social secunty appeal, or pro se civil rights                                Yes                     No        I✓    I
                                                                                t
       case filed by the same individual"

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I certify that, to my knowledge, the w1thm cas
this court except as noted above.
                                                              [!] is /
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                                                                             is not related to any case now pendmg or w1thm one year prev10usly tenmnated action m


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                                                                              A                 t Pro   Se Plaintiff                               Attorney ID       #   (if appluable)


CIVIL: (Place a 'If in one category only)

A               Federal Question Cases.                                                         B.      Diversity Jurisdiction Cases:

01         lndemmty Contract, Marme Contract, and All Other Contracts                           01            Insurance Contract and Other Contracts
0 2        FELA                                                                                 0 2           Airplane Personal Injury
03         Jones Act-Personal Injury                                                            0 3.          Assault, Defamation
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           Antitrust                                                                                          Manne Personal Injury

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           Patent
           Labor- Management Relat10ns
           Civil Rights
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0      8 Habeas Corpus                                                                                        Products L1ab11ity -- Asbestos

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       9   SecuntJes Act(s) Cases
       10. Social Security Review Cases
       11 All other Federal Question Cases
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                                                                                                              (Please specify) _   _    _ _   _       _ _ _   _ _          _   _ _      _     _ _

                (Please specify) _ _ _ _ _ _ _ _ _ _



                                                                                 ARBITRATION CERTiflCATION
                                                       (The effect of this cert1ficat1on is to remove the case from ehgtb1/zty for arburatzon)

I,                  Zainab Tarique                  _ _ • _, counsel of record or prose plamtiff, do hereby certify

              Purs ant to Local Civil Rule 53 2, § 3(c) (2), that to the best ofmy knowledge and belief, the damages recoverable m this civil action case
              exc d the sum of$150,000 00 exclusive of mterest and costs.

                                                                                                                                                         FEB - 4 2020.
DATb                                                                                                                                                   24113095
                                                                                                                                                  Attorney I D # (if apphc:able)

NOTF A tnal de novo will be a ma! by Jury only if there has been compliance with F RC P 38

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               Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 29 of 31
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    ~t          H               aN THE Ui't'ITED STATES DISTRICT COURT
                              FOil THE EASTERN DISTRICT OF PENNSYLVANIA
                             CASE MANAGEMENT TRACK DESIGNATION FORM
              Sue Grams                                                                         CMLACTION

                                v.
                                                              M:.JLNO 2848
                                                              Master Docket No 18 md 2848
                                                              Judge Harvey Bartle, III Ihrect
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                                                              Filed Complaint Pursuant to
              Merck & Co., Inc. and !Vlerck                       t al O rder.N o 22
                                                              P••en                    NO .
             Shatp & Dohme Corp.
         In accordance with the Civil Justice Expense and Delay Reduction Plan of this cowt, counsel for
         plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
         filing the com.plaint and serve a copy on all defendants. (See§ l :03 of the plan set forth on the reverse
         side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
         designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
         the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
         to which that defendant believes the case should be assigned.

         SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
         (a) Habeas Corpus-Cases brought under 28 U.S.C. § 2241 through§ 2255.                                                 ( )

         (b) Social Security - Cases requesting review of a decision of the Secretary of Health
             and Human Services denying plaintiff Social Security Benefits.                                                    ( )
         (c) Arbitration- Cases required to be designated for arbitration under Local Civil Rule 53.2.                         ( )

         (d) Asbestos - Cases involving claims for personal injury or property damage from
             exposure to asbestos.                                                                                             ( )

         ( e) Special Management - Cases that do not fall into tracks (a) through (d) that are
              commonly referred to as complex and that need special or intense management by
              the court. (See reverse side of this form for a detailed explanation of special
              management cases.)

         (f) Standard Management - Cases that do not fall into any one of the other tracks.
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                                                                                                                               ( )




         Date
             1/27/2020


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                                                                                       Ztarique@waterskraus.com

         Telephone                           FAX Number                                  E-Mail Address


         (Civ. 660) 10/02




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                    '    '           Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 30 of 31
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 provided piJocal rules of court This form, approved by the fod1cial Conference of the t.:mted States m September 1974, 1s reqmred for the use of the Clerk of Court for the
 purpose 0Tiii1ttatmg the ClVII docket sheet (SEE JNSTRUCT10NS ON NEX1 PAGE Uf THTS FORM;

 I. (a) PLAINTIFFS                                                                                                                        DEFENDANTS
 Sue Grams                                                                                                                              Merck & Co.


      (b) County of Residence of Fust Listed Plamt1ff                                                                                     County of Residence of Fust Listed Defendant
                                          (EXCEPT IN US PLAINT! F CASES)                                                                                                   ffN US. PLAINTIH CASES ONL                 J
                                                                                                                                          NOTE        IN LAND CONDEMNA TJON CASES. USE TH
                                                                                                                                                      THh TRACT OF LAJ\CD 1.NVOL VFD


      (C) Attorneys (Firm Name.              Address and Telephone umber)                                                                  Attorneys aJ Known)
 Waters & Kraus. LLP (214) 357-6244
 3141 Hood Street, Suite 700
 Dallas TX 75219
 II. BASIS OF JL'RISDICTION (Placean "X"mOneBoxOn/y)                                                                    III. CITIZENSHIP OF PRINCIPAL PARTIES(Placean ·x- mOneBoxforPlamt,ff
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 :'.'J I 5: Medicare Act                          :'.'J 330 Federal Employers·                 Product l,1ab1hty                                               n 830 Patent                          :::J 450 Commerce
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            of Veteran ·s Benefits                :'.'J 350 Motor Vehicle              :'.'J 370 Other Fraud                  :::J 1:0 Fair Labor Standards    :'.'J 861 RIA (1395ft)                :'.'J 485 Telephone Conswner
 :'.'J 160 Stockholders· Suns                     :'.'J 355 Motor Vehicle              '.1 371 Truth m Lending                          Act                   :::J 862 Black Lung (923)                          Protection Act
 :J 190 Other Contrac:t                                     Product L1ab,hty           '"1 180 Other Personal                 :'.'J 720 Labor/Management       '"1 863 DIWC/DIWW (405(g)) 7 490 Cable/Sat TV
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                                            :'.'J 446 Amer wlD1Sab1hties • :'.'J 540 Mandamus & Other :::J                          465 Other 1.tnnllgrat10n                                          . 1",   "'             State Statutes
                                                      Other                 :'.'J 550 CIVll R1g,'1ts                                    A.c:tlOns
                                            :'.'J 448 EducatlOn             :'.'J 5 5 5 Pnson Cond1t10n
                                                                            '"l 560 Civ1: Detamee
                                                                                        Condmons of
                                                                                        Confinement

                    IGIN (Place an      X'   in   One Box On/-y/
            Ongmal               '.1 2 Removed from                      '.1 3       Remanded from                    '.1 4 Remstated or           ::I 5 Transferred from                  '.1 6 Mul1id1stnct                 '.jl: 8 Multld1stnct
            Proceedmg                  State Court                                   Appellate Court                        Reopened                     Another D1stnct                         L1t1gat10n -                       L1t1gat10n •
                                                                                                                                                          (specify)                              Transfer                           Drrect File
                                                       Cite the. U S. CJ¥1i Statut<;. under wh1cb_you are filmg (Do not cite Jurisdictional statutes unless diversity/
                       28 U.S.C. ::,ect10n ::itatute 133.l
VI. CAL'SE OF ACTION l-B-n-ef.,..d-e-s<;.-nn_p_t_10_1,_of.,..c-:lJll_S_e-------------------------+---------

VII. REQUESTED IN
     COMPLAINT:
                        New Member case In Re. Zostavax (Zoster Vaccine Live) Product Liability L1t1gat1on
                      ~ CHECK IF THIS IS A CLASS ACTION
                         L~'DFR RL'LF 23, FR Cv P
                                                                 ~   $                    ' !ECK Y
                                                                                         ,TT;RY D
                                                                                                                              --=. .
VIII. RELATED CASE(S)
                       (See ,nstructwns)
      IF A.l'lit'                                                                   DOCK.bT NL'MBER
DATE
1/27/2020
FOR OF.FICE t:SE OSLY

    Rl:CFIPT #                            A.MOl.,'NT                                           APPL YING IFP                                           Jl:DGE                                    MAG JUDGE
Case 2:20-cv-00643-HB Document 1 Filed 02/04/20 Page 31 of 31




                       THIS CASE IS RELATED TO:   /vlJ) 2._ J_~ Y?
                       CIVIL ACTION NO.
                       CRIMINAL NO.               20        643
                       ASSIGNED TO:




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